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                        UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA
                                             )
Kiowa Tribe, and Comanche Nation,            )
                                             )
                      Plaintiffs,            )
                                             )
v.                                           )
                                             )
The United States Department of the          )       Case No. CIV-22-425-G
Interior; Bryan Newland, in his official     )
capacity as Assistant Secretary – Indian     )
Affairs; Darryl LaCounte, in his official )
capacity as Director of the Bureau of        )
Indian Affairs; Lori Gooday Ware,            )
individually and in her official capacity as )
Chairwoman, Fort Sill Apache Tribe;          )
Pamela Eagleshield, individually and in her)
official capacity as Vice-Chairman, Fort )
Sill Apache Tribe; James Dempsey,            )
individually and in his official capacity as )
Secretary-Treasurer, Fort Sill Apache        )
Tribe; Jeanette Mann, individually and in )
her official capacity as Committee           )
Member, Fort Sill Apache Tribe; Jennifer )
Heminokeky, individually and in her          )
official capacity as Committee Member, )
Fort Sill Apache Tribe; Dolly Loretta        )
Buckner, individually and in her official )
capacity as Committee Member, Fort Sill )
Apache Tribe; Philip Koszarek,               )
individually and in his official capacity as )
Chairman, Fort Sill Apache Gaming            )
Commission; Naomi Hartford, individually )
and in her official capacity as Vice-        )
Chairman, Fort Sill Apache Gaming            )
Commission; Michael Crump, individually )
and in his official capacity as              )
Commissioner, Fort Sill Apache Gaming )
Commission; Lauren Pinola, individually )
and in her official capacity as              )
Commissioner, Fort Sill Apache Gaming )
Commission; Debbie Baker, individually )
and in her official capacity as              )
Commissioner, Fort Sill Apache Gaming )
Commission;                                  )
                                             )
                      Defendants.            )
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                                       COMPLAINT

       Plaintiffs Kiowa Tribe and Comanche Nation (collectively, “Plaintiffs”), allege as

follows:

                               NATURE OF THE ACTION

       1.      Plaintiffs bring this action to prevent an illegal casino from conducting
                                                   1
unlawful gaming within Plaintiffs’ reservation in Oklahoma. The unlawful gaming will

be conducted by the Fort Sill Apache Tribe (“FSA Tribe”). Although the FSA Tribe is a

federally-recognized Indian tribe, its only reservation is in New Mexico. The FSA Tribe

is flouting foundational rules of Indian gaming with its imminent opening of a casino on
                                           2
land that makes up Plaintiffs’ reservation. The FSA Tribe intends to operate a casino on

land over which it has no jurisdiction, in violation of the Indian Gaming Regulatory Act

(“IGRA”), and to the detriment of the local tribes for which the reservation was

established. Defendants in this action are officials of the FSA Tribe (“FSA Defendants”),

against whom claims for declaratory and injunctive relief are asserted in their official

capacities pursuant to the Ex Parte Young doctrine, as well as in their individual




   1
      For purposes of this Complaint, a “reservation” refers to both existing and former
Indian reservations within Oklahoma, as the relevant statutes and regulations treat
existing and former reservation in Oklahoma equally. 25 U.S.C. § 2719(a)(2)(A); 25
C.F.R. § 151.2(f).
    2
      In 1867, Plaintiffs agreed to share their reservation with a third tribe, known today as
the Apache Tribe of Oklahoma. The Apache Tribe is a distinct and separate tribe from
the FSA Tribe, as explained below.



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capacities. Additional Defendants are officials of the U.S. Department of the Interior

(“Federal Defendants”), who erroneously transferred title of land within Plaintiffs’

reservation to the FSA Tribe.

                                         PARTIES

       2.      Plaintiff Kiowa Tribe is a federally-recognized Indian tribe with a

reservation in southwestern Oklahoma. The Kiowa Tribe operates three casinos on its

reservation, including the Kiowa Casino Verden in Verden, Oklahoma and the Kiowa

Casino Carnegie in Carnegie, Oklahoma. The Kiowa Tribe is constructing a fourth

casino in Hobart, Oklahoma. These casinos fund the Kiowa Tribe’s government for the

essential services provided to tribal members

       3.      Plaintiff Comanche Nation is a federally-recognized Indian tribe with a

reservation in southwestern Oklahoma. The Comanche Nation operates six casinos on its

reservation, including the Comanche Casino in Lawton, Oklahoma and the Spur Casino

on Highway 62 north of Lawton, near the junction with I-44. The Comanche Nation is

constructing a seventh casino in Cache, Oklahoma. These casinos fund the Comanche

Nation’s government for the essential services provided to tribal members.

      4.       The U.S. Department of the Interior is an executive department of the

United States charged with federal oversight of Indian affairs and trust responsibilities to

Indian tribes. The U.S. Department of the Interior is located at 1849 C Street NW,

Washington, DC 20240.

       5.      Bryan Newland is the Assistant Secretary – Indian Affairs and is the

official charged with discharging the duties of the Secretary of Interior concerning Indian



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Affairs. Assistant Secretary Newland’s office is located at 1849 C Street NW,

Washington, DC 20240.

       6.     Darryl LaCounte is the Director of the Bureau of Indian Affairs (“BIA”)

and is the official charged with the day-to-day operations of Indian Services, Justice

Services, Trust Services, and Field Operations. Director LaCounte’s office is located at

1849 C Street NW, Washington, DC 20240.

       7.     Lori Gooday Ware is the Chairwoman of the Fort Sill Apache Tribe and is

the official charged with supervising the affairs of the FSA Tribe and its business

committee and performing duties associated with the office. Chairwoman Gooday

Ware’s office is located at 43187 US Highway 281, Apache, OK 73006.

       8.     Pamela Eagleshield is the Vice-Chairman of the Fort Sill Apache Tribe and

is the official charged with representing the Chairman, and with supervising the affairs of

the FSA Tribe and its business committee and performing duties associated with the

office in the event the Chairman is absent or incapacitated. Vice-Chairman Eagleshield’s

office is located at 43187 US Highway 281, Apache, OK 73006.

       9.     James Dempsey is the Secretary-Treasurer of the Fort Sill Apache Tribe

and is the official charged with keeping account of all proceedings and official records of

the FSA Tribe and its business committee, as well as serving as the custodian of all funds

in possession of the Tribe. Secretary-Treasurer Dempsey’s office is located at 43187 US

Highway 281, Apache, OK 73006.

       10.    Jeanette Mann is a Committee Member of the Fort Sill Apache Tribe

Business Committee and is the official charged with (in relevant part) developing



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proposals relating to tribal claims, land acquisition, engage in negotiations, implement

programs, and other duties as delegated assigned by resolution. Committee Member

Mann’s office is located at 43187 US Highway 281, Apache, OK 73006.

       11.    Jennifer Heminokeky is a Committee Member of the Fort Sill Apache Tribe

and is the official charged with (in relevant part) developing proposals relating to tribal

claims, land acquisition, engage in negotiations, implement programs, and other duties as

delegated assigned by resolution. Committee Member Heminokeky’s office is located at

43187 US Highway 281, Apache, OK 73006.

       12.    Philip Koszarek is the Chairman of the Fort Sill Apache Gaming

Commission (“FSAGC”). The Fort Sill Apache Gaming Commission is the tribal entity

charged with regulating the FSA Tribe’s casino gaming pursuant to IGRA. Chairman

Koszarek is charged with the responsibility to ensure compliance with federal and state

laws. Chairman Koszarek’s office is located at 221 SW C Ave., Lawton, OK 73501.

       13.    Naomi Hartford is the Vice-Chairman of the Fort Sill Apache Gaming

Commission. Vice-Chairman Hartford is charged with ensuring compliance with federal

and state gaming laws. Vice-Chairman Hartford’s office is located at 221 SW C Ave.,

Lawton, OK 73501.

       14.    Michael Crump is the Commissioner of the Fort Sill Apache Gaming

Commission. Commissioner Crump is charged with ensuring compliance with federal

and state gaming laws. Commissioner Crump’s office is located at 221 SW C Ave.,

Lawton, OK 73501.




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       15.    Lauren Pinola is the Commissioner of the Fort Sill Apache Gaming

Commission. Commissioner Pinola is charged with ensuring compliance with federal

and state gaming laws. Commissioner Pinola’s office is located at 221 SW C Ave.,

Lawton, OK 73501.

      16.     Debbie Baker is the Commissioner of the Fort Sill Apache Gaming

Commission. Commissioner Baker is charged with ensuring compliance with federal and

state gaming laws. Commissioner Baker’s office is located at 221 SW C Ave., Lawton,

OK 73501.

                             JURISDICTION AND VENUE

       17.    This Court has federal question jurisdiction over Plaintiffs’ claims, pursuant

to 28 U.S.C. §§ 1331, 1362 because the claims arise under: the Administrative

Procedures Act, 5 U.S.C. §§ 701-706 (“APA”), the Indian Gaming Regulatory Act, 25

U.S.C. §§ 2710, 2719, and the Racketeering Influenced and Corrupt Organization

(“RICO”), see 18 U.S.C. § 1964(a).

       18.    Venue is proper in this Court as to the Federal Defendants—U.S.

Department of Interior, Bryan Newland, and Darryl LaCounte—because this is an action

against officers and agencies of the United States, and a substantial portion of the events

giving rise to this claim arise out of actions occurring in this District. 28 U.S.C. §

1391(e)(1).

       19.    Venue is also proper for FSA Defendants Lori Gooday Ware, Pamela

Eagleshield, James Dempsey, Jeanette Mann, Jennifer Heminokeky, Dolly Loretta

Buckner, Philip Koszarek, Naomi Hartford, Michael Crump, Lauren Pinola, and Debbie



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Baker because they can be found in this District and transact the affairs regarding the

FSA Tribe’s illegal casino in this District as that casino is located in this District. 18

U.S.C. § 1965(a); 28 U.S.C. § 1391(b)(2). On information and belief, the FSA

Defendants also reside in this District. 28 U.S.C. § 1391(b)(1).

                               FACTUAL ALLEGATIONS

I.     THE CREATION AND ALLOTMENT OF THE KCA RESERVATION.

       20.    In 1867, through the Treaty of Medicine Lodge, the United States set aside

an Indian reservation for the Kiowa Tribe and Comanche Nation. Treaty with the Kiowa,

Comanche, 1867, Oct. 21, 1867 (“First Treaty of Medicine Lodge”). This treaty

specifically noted that other tribes of Indians could not be settled on the reservation

without the agreement of the Kiowa Tribe and Comanche Nation. First Treaty of

Medicine Lodge, Art. 2 (creating reservation for “the absolute and undisturbed use and

occupation of” the Kiowa and Comanche and “for such other friendly tribes or individual

Indians as, from time to time, they may be willing [] to admit among them”).

       21.    The Treaty of Medicine Lodge was signed by representatives of the Kiowa

Tribe and Comanche Nation on October 21, 1867. Later that same day, the Kiowa Tribe

and Comanche Nation signed a second treaty along with representatives of an Apache

tribe that was then known as the Plains Apache or Kiowa-Apache. Treaty with the

Kiowa, Comanche, Kiowa-Apache, 1867, Oct. 21, 1867 (“Second Treaty of Medicine

Lodge”). Today, the Kiowa-Apache are known as the Apache Tribe of Oklahoma

(“Apache Tribe”). In the Second Treaty, the Kiowa Tribe and Comanche Nation agreed




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for members of the Apache Tribe to reside on their reservation. Hence, the reservation

became known as the Kiowa-Comanche-Apache Reservation, or “KCA Reservation.”

       22.    Notably, despite sharing an ethnic and linguistic bond, the Apache Tribe

and FSA Tribe are two entirely different and distinct political entities with different and

distinct histories and different and distinct membership. None of the Kiowa Tribe,

Comanche Nation, or Apache Tribe have ever provided their consent for the FSA Tribe

to share title to the KCA Reservation or general jurisdiction over Indian lands within the

KCA Reservation.

       23.    In the late nineteenth and early twentieth centuries, the U.S. Government

(“Government”) pursued an Indian affairs policy known as “allotment,” in which the

Government took the lands on Indian reservations owned in severalty, granted small

parcels (typically 160 acres) to individual Indians, and then granted the remaining land to

non-Indian settlers. The Act to Provide for the Allotment of Lands in Severalty to

Indians on the Various Reservations, 25 U.S.C. Ch. 9 (1887), known as the “Dawes Act,”

provided for allotment of all Indian lands.

       24.    Over objections from tribal leaders, the Government began allotting the

lands of the KCA Reservation and transferring unalloted land to non-Indian settlers. See

Lone Wolf v. Hitchcock, 187 U.S. 533, 568 (1903).

       25.    When land was allotted to a Comanche person, it is referred to as an

“original Comanche allotment” and considered by the Bureau of Indian Affairs (“BIA”)

and Comanche Nation as within the jurisdiction of the Comanche Nation. Similarly,

when land was allotted to a Kiowa person, it is referred to as an “original Kiowa



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allotment” and considered by the BIA and Kiowa Tribe as within the jurisdiction of the

Kiowa Tribe. And, when land was allotted to a Kiowa-Apache person, it is referred to as

an “original Apache allotment” and considered by the BIA and Apache Tribe as within

the jurisdiction of the Apache Tribe.

       26.    Relevant here, one parcel land within the KCA Reservation boundaries,

with the legal description of the NE1/4 of Section 33, Township 7 North, Range 11 West

of the Indian Meridian, containing 160 acres, more or less, was allotted to George Tsalote

(the “Tsalote Allotment”). George Tsalote was a member of the Kiowa Tribe, and

therefore the Tsalote Allotment is an “original Kiowa allotment.” See Exhibit 1 (April

2020 Ltr. from L. Gooday Ware to S. Simermayer).

II.    THE FSA TRIBE’S RELOCATION TO OKLAHOMA.

       26.    In October 1871, an Executive Order carved 23,040 acres out of the KCA

Reservation for use of an army base—known as Fort Sill.

       27.    In 1886, “hostile” Chiricahua Apaches (such as those affiliated with

Geronimo) who refused to settle on a reservation in Arizona, and other Chiricahua

Apaches from the San Carlos Reservation in Arizona, were imprisoned by the United

States in St. Augustine, Florida.

       28.    The Chiricahua Apache are a separate and distinct group from the Apache

Tribe. While the two groups share ethnic and linguistic ties, the historic territory of the

Apache Tribe is the southern Great Plains in states including Texas, Oklahoma,

Colorado, Kansas; whereas, the historic territory of the Chiricahua Apaches is in the

mountains of the southwest in New Mexico, Arizona, and northern Mexico.



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       29.    In 1887 and 1888, the Chiricahua Apache prisoners of war were transferred

from St. Augustine, Florida to a barracks in Mobile, Alabama.

       30.    In 1894, these Chiricahua Apaches were transferred to Fort Sill where their

imprisonment continued.

       31.    In about 1914, these Chiricahua Apaches were released from their

imprisonment at Fort Sill and given a choice: return to their historic lands in Arizona or

take allotments in Oklahoma within the KCA Reservation. Approximately 164

Chiricahua Apaches chose to return to reservations in Arizona and approximately 76

chose to take allotments in Oklahoma.

       32.    Those Chiricahua Apache who took allotments in Oklahoma (or their

descendants) eventually received federal recognition as an Indian tribe—the FSA Tribe—

in 1976.

III.   PRIOR DISPUTE AFFIRMS LACK OF JURISDICTION OF FSA TRIBE
       ON KCA RESERVATION AND LEADS TO NEW RESERVATION FOR
       FSA TRIBE IN NEW MEXICO.

       33.    Although Chiricahua Apache took allotments on the KCA Reservation,

none of the Kiowa Tribe, Comanche Nation, or Apache Tribe ever agreed that the FSA

Tribe would share jurisdiction over the KCA Reservation. Nor did any act of Congress

or executive action ever grant the FSA Tribe any jurisdiction over the KCA Reservation.

       34.    Allotments that remain in trust are Indian lands. See 18 U.S.C. § 1151

(defining Indian Country to include Indian allotments). As discussed above, within the

KCA Reservation, allotments are considered to be within the jurisdiction of whichever of

the three tribes the original allottee was a member.



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       35.    In the early 1990s, a portion of an original Comanche allotment, known as

the “Kerchee Allotment,” had been acquired by a Kiowa member in trust and used for

bingo operations. In 1992 and 1993, the FSA Tribe sought to acquire the Kerchee

Allotment in trust, and consistent with the allotment remaining within the jurisdiction of

the Comanche Nation, the BIA notified the Comanche Nation, which objected.

       36.    In 1996, BIA erroneously issued an opinion that the FSA Tribe shared

jurisdiction over the KCA Reservation with the Kiowa Tribe, Comanche Nation, and

Apache Tribe. As a result, the FSA Tribe was able to acquire the Kerchee Allotment in

1999 without notice to, or consent of, the Comanche Nation.

       37.    Unbeknownst to the Comanche Nation, Kiowa Tribe, or Apache Tribe, the

FSA Tribe also acquired, in 2001, the Tsalote Allotment in trust. None of the Comanche

Nation, Kiowa Tribe, or Apache Tribe, were notified by BIA (or anyone else) of the FSA

Tribe’s application to acquire the Tsalote Allotment in trust. None of the Comanche

Nation, Kiowa Tribe, or Apache Tribe, consented to the BIA’s acquisition of the Tsalote

Allotment for the FSA Tribe.

       38.    In 2005, the FSA Tribe submitted a tribal-state compact for approval to the

U.S. Department of Interior, evincing an intent to conduct “Class III” gaming on the

Kerchee Allotment. The Comanche Nation sued and this Court granted a preliminary

injunction preventing approval of that compact by Interior. Comanche Nation v. United

States, 393 F.Supp.2d 1196, 1202 (W.D. Okla. 2005).

       39.    Working through this Court, the parties settled that action. Comanche

Nation v. United States, “Agreement of Compromise and Settlement Recitals,” No. CIV-



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05-328-F (May 8, 2007) (“Settlement”), attached as Exhibit 2. The Settlement contains

several key terms bearing on this case. It establishes that land on the KCA Reservation

remains within the jurisdiction of the tribe in which the original allottee was a member.

It required BIA to withdraw its erroneous 1996 opinion. In the Settlement, however, the

It provided the consent of the Comanche Nation to the FSA Tribe’s exercise of

jurisdiction over the Kerchee Allotment—and only the Kerchee Allotment. The FSA

Tribe has operated a casino on that site ever since. Further still, the United States agreed

to process the FSA Tribe’s application for a reservation proclamation for land held in

trust in New Mexico. Exhibit 2 ¶¶ 7-8.

       40.    On November 16, 2011, the Department of Interior took land into trust in

New Mexico for the FSA Tribe and proclaimed that land to be Fort Sill Apache’s

Reservation pursuant to 25 U.S.C. § 467. Proclaiming Certain Lands as Reservation for

the Fort Sill Apache Indian Tribe, Fed. Reg. 76, 228 (Nov. 28, 2011).

IV.    THE FSA’S PLANS FOR AN ILLEGAL CASINO ON THE TSALOTE
       ALLOTMENT.

       41.    With the Kerchee Allotment litigation settled, Plaintiffs believed that the

dispute with the FSA Tribe was also settled. In Oklahoma, the FSA Tribe would conduct

gaming on the Kerchee Allotment and solely on the Kerchee Allotment. Any future

activities of the FSA Tribe would be on its New Mexico reservation.

       42.    However, unbeknownst to Plaintiffs (or the Apache Tribe), the FSA Tribe

had acquired the Tsalote Allotment in trust prior to the Settlement. The FSA Tribe’s




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beneficial ownership of this parcel was not disclosed to Plaintiffs (or Apache Tribe) by

the United States or FSA Tribe.

          43.   For years, the FSA Tribe held the Tsalote Allotment without conducting

any gaming operations. In February 2022, the FSA Tribe announced on social media that

it was constructing a casino, called the Warm Springs Casino (the “Casino”), on the

Tsalote Allotment.

          44.   The Comanche Nation, Kiowa Tribe, and Kiowa Comanche Apache

Intertribal Land Use Committee began investigating how the FSA Tribe could be

constructing a casino on land that it did not own and could not be within its jurisdiction.

          45.   As a result of this investigation, Plaintiffs learned that the BIA had acquired

the Tsalote Allotment in trust for the FSA Tribe on June 26, 2001.

          46.   Plaintiffs also learned that on September 18, 2020, the FSA Tribe submitted

a letter to the National Indian Gaming Commission (“NIGC”) informing the NIGC of its

intent to construct and open a new tribal gaming facility on Tsalote Allotment, and

requesting a “60-day [e]xpedited [r]eview pursuant to 25 C.F.R. § 559.2(a)(1).” Exhibit

1 at 1.

          47.   Under applicable gaming regulations, the Chair of the NIGC was required

to “respond to the tribe’s request, either by granting or denying the tribe’s request,” 25

C.F.R. § 559.2(a)(1), but (on information and belief) has not done so.

          48.   On April 26, 2022, the FSA Tribe announced that it was holding a job fair

on May 3, 2022, to hire employees for the Warm Springs Casino. This job fair




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announcement includes positions such as slots manager or craps dealer, indicating that

the Warm Springs Casino will likely offer “Class III” gaming, as defined by IGRA.

       49.    On April 27, 2022, the Kiowa Comanche Apache Intertribal Land Use

Committee sent a letter to the NIGC, complaining of the Warm Springs Casino and

requesting agency action, and supplemented that letter on April 28, 2022.

       50.    The NIGC acknowledged receipt of the letter, but has done nothing to stop

or prevent the opening of the illegal Warm Springs Casino.

       51.    The opening of this illegal Casino is now imminent. On May 19, 2022, an

interested member of the Comanche Nation visited the Tsalote Allotment and was

informed that the Casino would open to the public on June 1, 2022.

V.     THE ILLEGAL WARM SPRINGS CASINO WILL CAUSE SUBSTANTIAL
       AND IRREPARABLE HARM TO PLAINTIFFS AND THEIR MEMBERS.

       52.    The Kiowa Tribe’s government is dependent on revenues from the Kiowa’s

casinos. Approximately 60% of the Kiowa Tribe’s annual budget for government

programs and services is funded by profits from the Kiowa Tribe’s casinos.

       53.    These government programs include providing important and essential

services to tribal members such as: burial assistance for families that have lost loved

ones; higher education payments for college students; fire management; and emergency

housing assistance for the elderly.

       54.    Likewise, the Comanche Nation’s government is dependent on revenues

from the Comanche’s own casinos. Approximately 93% of the Comanche Nation’s




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annual budget for government programs and services is funded by profits from the

Comanche Nation’s casinos.

       55.    These government programs include providing important and essential

services to tribal members such as: an assisted living center for the elderly; transportation

for the disabled; housing for low-income members; a youth shelter for abused and

neglected children; law enforcement, prosecutor, and tribal court services to prevent and

punish crimes committed within the Comanche jurisdiction; health services such as

diabetes prevention, prescription assistance, optometry, and drug and alcohol dependency

treatment; and many other programs.

      56.     The Tsalote Allotment and Warm Springs Casino are located at 15179 State

Highway, Anadarko, OK 73005. Exhibit 1 at 1, 5. This is within the KCA Reservation,

16.1 miles from the Kiowa Casino Verden, 16.1 miles from the Kiowa Casino Carnegie,

22.6 miles from the Comanche Nation’s Spur Casino, and 32.7 miles from the Comanche

Casino in Lawton.

       57.    Due to this close proximity, the illegal competition from the Warm Springs

Casino will divert revenue from the Plaintiffs’ casinos, and reduce revenue available for

government programs. Because the FSA Tribe is a federally recognized tribe, it cannot

be liable for money damages due to sovereign immunity. Therefore, Plaintiffs will never

be able to recoup the revenue lost if the Warm Springs Casino opens, despite the patent

illegality of the Casino.




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                                   COUNT ONE
             Declaration Under the Administrative Procedures Act that
                 Tsalote Allotment is Not Owned by the FSA Tribe
                         (Against the Federal Defendants)

       58.    Plaintiffs incorporate all preceding paragraphs by reference.

       59.    The First and Second Treaties of Medicine Lodge Creek reserved to the

Kiowa Tribe, Comanche Nation, and Apache Tribe the KCA Reservation, and

specifically provided that the reservation would be for their exclusive use and occupation

unless the tribes consented to another tribe or tribes sharing the reservation. Congress

has never abrogated this treaty-reserved right to consent or deny consent to sharing the

KCA reservation with another tribe. None of these three tribes has since consented to

share or admit upon the KCA Reservation the FSA Tribe or any other tribe.

       60.    The Tsalote Allotment was allotted from the KCA Reservation to a Kiowa.

It was not one of the Kiowa, Comanche, or Apache allotments purchased by the United

States for any of the Chiricahua Apache prisoners of war that elected to remain in

Oklahoma in 1914.

       61.    Under the First and Second Treaties of Medicine Lodge Creek, and also

under the BIA’s land acquisition regulations, 25 C.F.R. § 151.8, transferring the Tsalote

Allotment, or any portion thereof, to the FSA Tribe would require the consent of the

Kiowa Tribe, Comanche Nation, and Apache Tribe. Under 25 C.F.R. § 151.8, notice was

required to be provided to the Kiowa Tribe, Comanche Nation, and Apache Tribe of the

FSA Tribe’s application to acquire the Tsalote Allotment in trust.




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       62.    An actual controversy exists between Plaintiffs and Federal Defendants in

that Plaintiffs contend that the Federal Defendants lacked authority to approve the

acquisition in trust of the Tsalote Allotment by the FSA Tribe without providing notice

to, or obtaining the consent of, the Kiowa Tribe, Comanche Nation, or Apache Tribe.

       63.    The actions of the Federal Defendants in violation of the Treaties of

Medicine Lodge and 25 C.F.R. § 151.8 were arbitrary, capricious, an abuse of discretion,

and contrary to law in violation of the Administrative Procedures Act, 5 U.S.C. §§ 702 –

706.

       64.    The actions of the Federal Defendants further violate their trust obligations

to at least the Kiowa Tribe by depriving it of land that it could acquire for economic

development or other purposes.

       65.    Plaintiffs are entitled to a declaration that the Tsalote Allotment is not

owned by the FSA Tribe.

                                    COUNT TWO
       Violation of the Indian Gaming Regulatory Act – Declaratory Judgment
                               (Against FSA Defendants)

       66.    Plaintiffs incorporate all preceding paragraphs by reference.

       67.    IGRA was enacted in 1988 by Congress in order to create a federal scheme

to comprehensively address gaming by Indian tribes. Indian Gaming Regulatory Act, Pl.

100-497, Oct. 17, 1988.

       68.    The location of Indian gaming was of particular concern to Congress in

enacting IGRA. In particular, Congress wanted to address the concern that land would be




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acquired for gaming near large cities or towns, contrary to the desires of local

governments.

       69.     Therefore, in enacting IGRA, Congress specifically addressed where Indian

gaming may occur.

       70.     Under IGRA, an Indian tribe may engage in gaming only on “Indian lands”

and only on the Indian lands within such tribe’s jurisdiction. 25 U.S.C. § 2710(b)

(concerning Class II gaming) (emphasis added); see also id. § 2710(d) (permitting Class

III gaming on Indian lands only if authorized by an ordinance “adopted by the governing

body of the Indian tribe having jurisdiction over such lands”).

       71.     In addition, Congress went one step further and specifically prohibited

gaming on lands acquired after October 17, 1988 (the date of the Act), subject to certain

exceptions that are not applicable here. 25 U.S.C. § 2719(a).

       72.     The location of Class III gaming in particular was also of particular concern

in the tribal-state compact between the FSA Tribe and Oklahoma, which recites that the

tribe may conduct Class III gaming only on its own Indian lands. A copy of this compact

is attached hereto as Exhibit 3.

       73.     The Tsalote Allotment is Indian land under IGRA, but is not within the

jurisdiction of the FSA Tribe. The Tsalote Allotment is an original Kiowa allotment. See

Exhibit 1. Accordingly, the FSA Tribe does not have jurisdiction over the Tsalote

Allotment.




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       74.    The FSA Tribe also acquired the Tsalote Allotment after October 17, 1988,

does not meet an exception, and therefore the FSA Tribe has no authority under IGRA to

conduct gaming there.

       75.    An actual controversy exists between Plaintiffs and FSA Defendants in that

Plaintiffs contend that the FSA Tribe lacks authority to conduct gaming on the Tsalote

Allotment.

       76.    Plaintiffs are entitled to a declaration that the FSA Tribe may not conduct

gaming on the Tsalote Allotment.

                                  COUNT THREE
          Violation of Racketeer Influenced and Corrupt Organizations Act
                             (Against FSA Defendants)

       77.    Plaintiffs incorporate all preceding paragraphs by reference.

                                     The Enterprise

       78.    The FSA Tribe is an Enterprise as defined by 18 U.S.C. § 1961(4), that

operates in and affects interstate commerce, with tribal operations and lands in New

Mexico and Oklahoma. The Enterprise is a legal entity, a federally-recognized tribe, with

a formalized organizational hierarchy set forth in the Tribe’s constitution and other

organizational documents. The Enterprise operates an existing casino in Lawton,

Oklahoma that draws patrons from Texas.

       79.    The Enterprise has retained a construction firm in Minnesota to construct a

new casino, the Warm Spring Casino. The Enterprise has advertised the Warm Springs

Casino using interstate wires and on social media.




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                                     The Defendants

       80.    Lori Gooday Ware, Pamela Eagleshield, James Dempsey, Jeanette Mann,

Dolly Loretta Buckner, and Jennifer Heminokeky, were and are officers of the Enterprise,

responsible for governing and directing the operations of the Enterprise and its

subordinate entities.

       81.    The Fort Sill Apache Gaming Commission (“FSAGC”) is a subordinate

legal entity of the Enterprise. The FSAGC is the tribal entity charged with operating the

Enterprise’s casino gaming pursuant to IGRA, and takes direction from the FSA

Defendants and other Enterprise officials.

       82.    Phillip Kozarek is the Chairman of the Fort Sill Apache Gaming

Commission charged with ensuring compliance with federal and state gaming laws.

       83.     Naomi Hartford is the Vice-Chairman of the Fort Sill Apache Gaming

Commission charged with ensuring compliance with federal and state gaming laws.

       84.    Michael Crump is the Commissioner of the Fort Sill Apache Gaming

Commission charged with ensuring compliance with federal and state gaming laws.

Lauren Pinola is the Commissioner of the Fort Sill Apache Gaming Commission charged

with ensuring compliance with federal and state gaming laws. Debbie Baker is the

Commissioner of the Fort Sill Apache Gaming Commission.

       85.    The FSA Defendants are associated with the Enterprise in that, they serve

as the Enterprise’s and Tribe’s Business Committee and Gaming Commissioners.




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                                 The Racketeering Conspiracy

       86.       From about April 21, 2020, to present, the FSA Defendants are knowingly

conspiring with each other to violate 18 U.S.C. § 1962(c), that is, to conduct and

participate, directly and indirectly, in the affairs of the Enterprise which engages in, and

activities of which affect, interstate commerce, through a pattern of racketeering activity

consisting of:

             a. Multiple acts of illegal gambling in violation of 18 U.S.C. §1955; and

             b. Multiple acts of money laundering in violation of 18 U.S.C. §§ 1956 and

                 1957.

       87.       It is part of the conspiracy that each FSA Defendant would commit at least

two acts of racketeering activity in the conduct of the affairs of the Enterprise.

                            Manner and Means of the Conspiracy

       88.       The purpose of the Conspiracy is to enrich the Enterprise, the FSA

Defendants and other FSA tribal members through the operation of an illegal gambling

business that uses the profits to promote the Casino’s operations and to enrich the

Enterprise and tribal members.

       A.        Illegal Gambling Racketeering Acts in Violation 18 U.S.C. § 1955.

       89.               The FSA Defendants are conspiring to cause the Enterprise to open

and operate an illegal gambling business, the Warm Springs Casino. Federal law does

not permit Indian tribes, or individual Indians, to conduct gambling on tribal lands unless

IGRA is followed. 18 U.S.C. § 1166; see generally 25 U.S.C. § 2710. If IGRA is not

followed, then 18 U.S.C. § 1955 requires that state law be followed. See United States v.



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Gachot, 512 F.3d 1252, 1252, 1254 (10th Cir. 2008) (affirming conviction under § 1955

of Kiowa tribal member operating cockfighting on Indian land in Oklahoma); United

States v. E.C. Invs., 77 F.3d 327, 330-31 (9th Cir. 1996) (holding that § 1955 applies to

Indian tribe’s casino, and the consultants operating that casino, where tribe had not

complied with IGRA’s requirements for Class III machines).

       90.    Because the Warm Springs Casino is not authorized under IGRA, it will be

an “illegal gambling business” as defined in 18 U.S.C. § 1955.

       91.    The Warm Springs Casino will involve more than five persons who

conduct, finance, manage, supervise, direct, and own the Casino. The Enterprise, which

has over a hundred members, will own the Casino. The FSA Defendants will jointly

conduct, manage, supervise, and direct the Warm Springs Casino operations, all in

violation of state and federal law. For example, FSA Defendants caused the Enterprise to

hold a job fair to hire dozens more persons to assist in conducting, managing,

supervising, and directing gambling at the Warm Springs Casino.

       92.    Once opened, the Warm Springs Casino is intended to operate continuously

for more than thirty days and generate more than $2,000 in gross revenue every day.

Based on its size, the Warm Springs Casino is intended to have dozens of slot machines

and will generate in excess of $2,000 in gross revenue each day it is open.

       93.    The FSA Defendants are causing the Enterprise to open and operate the

Warm Springs Casino in violation of IGRA. As described above, an Indian tribe may

engage in gaming only on “Indian lands” and only on the Indian lands within such tribe’s

jurisdiction. Because the FSA Defendants are causing the Enterprise to open and operate



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the Warm Springs Casino on land over which the Enterprise has no jurisdiction, the FSA

Defendants are causing the Enterprise to violate IGRA.

       94.    The FSA Defendants are also causing the Enterprise to open and operate

the Warm Springs Casino in violation of Oklahoma law. Commercial gambling, i.e.

casino gambling in Oklahoma, is defined as “[o]perating or receiving all or part of the

earnings of a gambling place.” O.S. § 21-982(A)(1). Commercial gambling is illegal in

Oklahoma, and any person “found guilty of commercial gambling shall be guilty of a

felony.” O.S. § 21-982(B). Further, any person “permitting premises to be used for

commercial gambling shall be guilty of a misdemeanor.” O.S. § 21-983(B). And any

person “dealing in gambling devices shall be guilty of a felony.” O.S. § 21-984(B).

       95.    The FSA Defendants also violate Oklahoma commercial gambling laws by

“installing communications facilities knowing that they will be used principally for the

purpose of transmitting information to be used in making or settling bets;” “disseminating

gambling information.” O.S. §§ 21-1986, 21-1987. The FSA Defendants causing the

Enterprise to open and operate the Warm Springs Casino is not only a violation of IGRA,

but is also a violation of Oklahoma criminal law. There are exceptions, however for

charitable gambling in Oklahoma, neither of which are met by FSA Defendants. Only

licensed charitable gambling in Oklahoma is permitted for games such as bingo. See

O.S. § 401 et seq. The FSA Tribe is not a charity and the Warm Springs Casino is not

licensed for charitable gambling.

       96.    Title 3A of Oklahoma Statutes sets forth regulations for gambling at

licensed horse tracks. Any person conducting horse racing may obtain a license from the



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Oklahoma Horse Racing Commission. O.S. § 3A-205.1. Licensed horse tracks may

offer wagering on horse races. O.S. § 3A-205.6(A). No other form of gambling is

permitted at horse tracks, and state-sponsored gambling is not permitted in places other

than horse tracks. Id. Neither the FSA Tribe nor the Warm Springs Casino has a horse

racing license from Oklahoma.

       97.      Because the FSA Defendants are causing the Enterprise to open the Casino

in violation of federal and state law, the FSA Defendants are causing the Enterprise to

violate 18 U.S.C § 1955, which states in relevant part:

       (a) Whoever conducts, finances, manages, supervises, directs, or owns all or
           part of an illegal gambling business shall be fined under this title or
           imprisoned not more than five years, or both.

       (b) As used in this section—
           (1) “illegal gambling business” means a gambling business which—

                (i)     is a violation of the law of a State or political subdivision in
                        which it is conducted;
                (ii)    involves five or more persons who conduct, finance, manage,
                        supervise, direct, or own all or part of such business; and
                (iii)   has been or remains in substantially continuous operation for a
                        period in excess of thirty days or has a gross revenue of $2,000
                        in any single day.
       ….

             (4) “gambling” includes but is not limited to pool-selling, bookmaking,
                 maintaining slot machines, roulette wheels or dice tables, and
                 conducting lotteries, policy, bolita or numbers games, or selling
                 chances therein.

       98.      As discussed above, gambling at the Warm Springs Casino will violate

IGRA and Oklahoma state law, and thus in turn, violate 18 U.S.C. § 1955. For each day

that the FSA Defendants cause the Enterprise to operate the Casino and receive profits




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from its operation, the FSA Defendants will be committing a separate violation of 18

U.S.C. § 1955.

      B.     Money Laundering and Racketeering Acts in Violation of 18 U.S.C. §§
             1956 1957.

      99.    The proceeds from the Casino’s operations will be used to promote illegal

gambling by funding the Casino’s operations through payment of employee payroll,

utilities, maintenance, and other operating expenses. Surplus proceeds of illegal

gambling will be distributed to Tribal members in transactions involving more than

$10,000 of illegal gambling proceeds.

      100.   Federal law prohibits engaging in financial transactions with the proceeds

of some form of unlawful activity, including illegal gambling, knowing that that the

proceeds are derived from unlawful activity, with the intent to promote the carrying on of

illegal gambling. 18 U.S.C. § 1956(a)(1)(A). Federal law also prohibits knowingly

engaging in or attempting to engage in a monetary transaction in criminal derived

property of a value greater than $10,000 derived from illegal gambling. 18 U.S.C. §

1957(a).

      101.   FSA Defendants, by conspiring to cause the Enterprise to engage in

financial and monetary transactions with the proceeds of illegal gambling, are conspiracy

to engage in money laundering racketeering acts.




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                                      RICO Remedies

       102.   18 U.S.C § 1964(a) expressly grants this Court jurisdiction to issue an

injunction to prevent RICO violations, and therefore the Court has jurisdiction to prevent

an illegal gambling business, such as the Warm Springs Casino, from opening its doors.

       103.   The opening and operation of the Warm Spring Casino has and will cause

irreparable harm to Plaintiffs for which no remedies at law exist because they cannot

recover damages from the FSA Tribe due to the tribe’s sovereign immunity. As

discussed above, the Warm Springs Casino would also divert customers away from

Plaintiffs lawful casinos and cause Plaintiffs to lose the revenue it relies on to provide

essential governmental services to their members.

       104.   At least the Kiowa Tribe has jurisdiction over the Tsalote Allotment, and

the construction of an illegal casino on that site has deprived the Kiowa Tribe of revenue

and the opportunity to use the Tsalote Allotment for its own purposes.

       105.   Plaintiffs are entitled to a declaration that the FSA Defendants have

violated RICO by conspiring to open the Warm Springs Casino and injunctive relief

preventing the opening and operation of the Warm Springs Casino, or any other gaming

by the FSA Tribe on the Tsalote Allotment.



                                 PRAYER FOR RELIEF

       Plaintiffs respectfully request judgment against Defendants as follows:

       1.     A declaration that the FSA Tribe is not the owner of the Tsalote Allotment;




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       2.     A declaration that the FSA Tribe cannot conduct Class II or Class III

gaming on the Tsalote Allotment under IGRA;

       3.     A declaration that Class III gaming on the Tsalote Allotment will violate

the FSA Tribe’s tribal-state compact;

       4.     A declaration that gaming on the Tsalote Allotment by the FSA Tribe will

be in violation of RICO;

       5.     Preliminary and permanent injunctive relief restraining and enjoining the

FSA Defendants from operating a casino on the Tsalote Allotment;

       6.     Preliminary and permanent injunctive relief prohibiting gambling or

gaming by the FSA Defendants on the Tsalote Allotment;

       7.     Awarding Comanche Nation its reasonable costs, including attorneys’ fees,

incurred in bringing this action; and

       8.     Granting such other and further relief as this Court deems just and proper.



May 24, 2022                                 Respectfully submitted,



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